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12                                   UNITED STATES DISTRICT COURT
13                              FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
15 TERESA     TURNER, individually and on behalf
   of all others similarly situated,
                                                            Case No. 2:25-cv-00334-FMO-PD

16                                                          [PROPOSED] ORDER ENTERING
                   Plaintiff,                               STIPULATION TO EXTEND
17                                                          UNITED STATES’ DEADLINE
                           v.                               TO INTERVENE
18 NATIONAL NOTARY ASSOCIATION,
19           Defendant.
20
21
             The Court, having considered the parties’ Stipulation to Extend the United States’ Deadline to
22
      Intervene and Declaration of Cristen C. Handley, and finding good cause shown, hereby ORDERS that:
23
             The United States’ deadline to intervene is extended by 45 days, to June 30, 2025.
24
             DATED: May ____, 2025
25
                                                          ___________________________________
26                                                        FERNANDO M. OLGUIN
                                                          UNITED STATES DISTRICT JUDGE
27
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                                                        1
